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                           IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON


ESTATE OF AARON D. STANTON, by
DOUGLAS STANTON, Personal                  Case No. 3:23-cv-01767-AN
Representative, and A. S., a minor, by and
through her Guardian ad Litem, DOUGLAS
STANTON,                                   DECLARATION OF DOUGLAS STANTON
                                           IN SUPPORT OF MOTION FOR
                     Plaintiffs,           APPOINTMENT OF GUARDIAN AD
                                                 LITEM
     V.


JOSHUA DYK and CITY OF PORTLAND,
a municipal corporation,


                        Defendants.




   I, Douglas Stanton, declare as follows:
    1. I make this declaration in support of the Motion to appoint me as Guardian adLitem for
          A.S. I have personal knowledge of the information contained in this declaration. If called
          upon to do so, I could and would competently testify regarding the matters set forth
          herein.
   2. A.S. is a minor of the age of 7 years and is my granddaughter.
   3. No previous motion for appointment of a Guardian ad Litem has been filed in this matter.
   4. The natural mother of A.S., Vansopheak (Sophia) Phou has been provided notice of my
          application for appointment as guardian ad !item in this proceeding and has informed me
          of her consent to my appointment.
   5. I am ready, willing and able to pursue this action on my granddaughter's behalf to the
          best of my ability.
   6. I have read the Motion for Appointment of Guardian ad /item and the facts contained
      therein are true and correct to the best of my knowledge.
   Pursuant to 28 USC $ 1746, I declare under pe           of perjury
   and correct.
   Dated November2,0, 2023.



Page 1- DECLARATION OF DOUGLAS STANTON IN SUPPORT OF MOTION FOR
           APPOINTMENT OF GUARDIAN AD LITEM
